     Case 6:23-bk-11784-WJ   Doc 18 Filed 05/05/23 Entered 05/05/23 09:14:09           Desc
                              Main Document Page 1 of 4

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                                                              CLERK U.S. BANKRUPTCY COURT
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                                                              BY gooch      DEPUTY CLERK
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 8                            UNITED STATES BANKRUPTCY COURT

 9                             CENTRAL DISTRICT OF CALIFORNIA

10                                     RIVERSIDE DIVISION

11

12       In re:                                 Case No.: 6:23-bk-11784-WJ

13       LARRY GENE ROBINSON, JR. and           CHAPTER 13
         JACQUELINE SANCHEZ,
14
                                   Debtors.                SCHEDULING ORDER
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                                               -1-
     Case 6:23-bk-11784-WJ       Doc 18 Filed 05/05/23 Entered 05/05/23 09:14:09                 Desc
                                  Main Document Page 2 of 4

 1             Commencing in March of 2020, the outbreak of COVID-19, also known as the

 2      coronavirus, spread throughout the country and the world. The federal courts closed that month

 3      and, except for a brief period of time in the summer of 2020, remained closed until April of 2021.

 4      During this period of time, the courts adapted and, in various ways, employed remote technology.

 5             In particular, the court has used video technology to conduct chapter 13 confirmation

 6      hearings and status conferences. It appears this process has enhanced (considerably) the

 7      convenience of these matters for the parties and the court. Therefore, the court intends to continue

 8      conducting such matters by video for the foreseeable future.

 9             However, for several reasons, video hearings should occur separately from other matters

10      not handled by video. In other words, the court avoids conducting video hearings at the same time

11      as in-person hearings. Video hearings should occur on separate days and at separate times.

12

13             Therefore, the Court hereby ORDERS as follows:

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15             1.      The status conference set for May 31, 2023 at 2:30 p.m. is hereby continued to

16      October 30, 2023 at 1:30 p.m. The confirmation hearing currently scheduled for June 14, 2023 at

17      2:00 p.m. is hereby continued to October 30, 2023 at 1:30 p.m. Counsel for the debtors shall file

18      and serve a notice of the continuance no later than May 11, 2023.

19
20             2.      The meeting of creditors is currently scheduled for May 31, 2023. No later than

21      fourteen days prior to this meeting of creditors (and all future meetings of creditors), the debtors

22      shall comply with LBR 3015-1(m) and file and serve the secured debt payment history declaration

23      required in this case. This topic is discussed in section III(L) on pages 32-35 of the procedures

24      order in this case which counsel for the debtors should review.

25

26             3.      If, after conducting the meeting of creditors, the trustee seeks dismissal of the case,

27      the trustee should file and serve a request to dismiss the case by June 2, 2023 either in the form of
28      (a) an objection to confirmation and a request to dismiss the case or (b) a motion to dismiss the




                                                         -2-
     Case 6:23-bk-11784-WJ            Doc 18 Filed 05/05/23 Entered 05/05/23 09:14:09                           Desc
                                       Main Document Page 3 of 4

 1      case. If the trustee does so, the deadline for the debtors to respond to any request by the trustee to

 2      dismiss the case filed by June 2, 2023 (whether as an objection to confirmation and a request to

 3      dismiss the case or a motion to dismiss the case) is June 9, 2023. Thereafter, the Court will review

 4      the pleadings and, in most instances, rule on the motion.

 5

 6               4.       If the case is not dismissed after the meeting of creditors, then the following

 7      procedures apply:

 8                        (a)      The trustee or any other party may file a motion to dismiss at any time or

 9               any other motions and the deadline for the debtors to respond to such motions shall be

10               governed by the local rules.

11                        (b)      If the debtors own their current residence, they should file (no later than

12               October 10, 2023) a secured debt payment history declaration demonstrating that they have

13               made all monthly post-petition mortgage payments from the petition date through

14               October 2023. If the debtors own their residence but it is not subject to any mortgage, the

15               declaration can be very short (i.e. a sentence or two) that simply states as much. If the

16               debtors reside at property they do not own, they should file (no later than October 10, 2023)

17               a declaration demonstrating that they have made all monthly post-petition rent payments

18               (with proof attached).1

19                        (c)      If the trustee supports confirmation then, after the debtors file the required
20               pleading, the chapter 13 trustee should file, no later than October 16, 2023, a pleading

21               stating as much and attach a worksheet with the proposed terms of confirmation. If the

22               chapter 13 trustee does not support confirmation then, no later than October 16, 2023, the

23               trustee should file a motion requesting dismissal which states all grounds for dismissal and

24               includes a declaration in support of the motion. If the debtors have not made all post-

25               petition mortgage or rent payments for all post-petition months, the trustee normally

26               requests dismissal of the case. If, for any reason, the trustee does not do so, the proposed

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                 1
                   With respect to rent payments, in nearly all instances, post-petition obligations of assumed executory
28      contracts or unexpired leases constitute administrative claims which must be paid in full pursuant to section 1322(a)(2).




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     Case 6:23-bk-11784-WJ      Doc 18 Filed 05/05/23 Entered 05/05/23 09:14:09                 Desc
                                 Main Document Page 4 of 4

 1             terms of confirmation must (a) include provisions to cure all post-petition arrearages (as

 2             well as any pre-petition arrearage) and (b) provide for conduit payments for the monthly

 3             payments for the rest of the case.

 4                     (d)    The deadline for the debtors to respond to the trustee’s pleading is

 5             October 23, 2023. If the trustee seeks dismissal, the debtors should file an opposition brief

 6             to the dismissal motion no later than October 23, 2023. If the trustee recommends

 7             confirmation, the debtors should state whether the debtors agree with the terms of

 8             confirmation proposed by the trustee.

 9                     (e)    The Court will review the pleadings and may issue a ruling without holding

10             hearings on October 30, 2023 that (a) continues the matter, (b) dismisses the case or

11             (c) grants other relief depending on various factors including, but not limited to, whether or

12             not an agreement exists regarding confirmation, and whether or not the debtors have timely

13             made payments and provided documents to the trustee during the case. If no order is

14             entered prior to October 30, 2023, all parties should check the Court’s posted calendar the

15             day before October 30, 2023.

16      IT IS SO ORDERED.

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         Date: May 5, 2023
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